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 9                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
10
11   FRANCIE E. MOELLER, et al.,                   Case No.       C 02 5849 PJH NC
12                      Plaintiffs,                CLASS ACTION

13        v.                                       [PROPOSED] AMENDED ORDER
                                                   PRELIMINARILY APPROVING CLASS
14   TACO BELL CORP.,                              SETTLEMENT

15                                                        Date: June 4, 2014
                        Defendant.                        Time: 9 a.m.
16                                                        Judge: Hon. Phyllis J. Hamilton

17
18             Having reviewed the parties’ Joint Motion for Preliminary Approval of Class Settlement,

19   the proposed Settlement Agreement, the proposed Notice, the proposed Notice dissemination

20   plan, and the arguments of counsel, along with the files and records of this case, the Court now

21   FINDS, CONCLUDES, and ORDERS as follows:

22   I.         PRELIMINARY APPROVAL OF PROPOSED SETTLEMENT AGREEMENT

23              The Court has reviewed the terms of the proposed Settlement Agreement attached as

24   Exhibit A, including specifically the injunctive relief provisions. The Court also reviewed the

25   Motion papers and the declaration of Timothy P. Fox, which describes the background of this

26   case, and the settlement process. Based on review of those papers, and the Court’s familiarity

27   with this case, the Court concludes that the Settlement Agreement is the result of extensive,

28   arms’ length negotiations between the parties after extensive and lengthy litigation. The Court
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 1   finds that the settlement process was noncollusive. Based on the Court’s review of papers
 2   submitted in support of preliminary approval, and the Court’s familiarity with the issues in the
 3   case, the Court concludes that the proposed Settlement Agreement has no obvious defects and
 4   is within the range of possible settlement approval, such that notice to the Class is appropriate.
 5            It is therefore ORDERED that the Settlement Agreement is hereby PRELIMINARILY
 6   APPROVED. Final approval is subject to the hearing of any objections of members of the
 7   Class to the proposed settlement.
 8   II.      PROCEDURES FOR FINAL APPROVAL OF THE SETTLEMENT
 9            A.     Final Approval Hearing
10            The Court hereby schedules a hearing to determine whether to grant final approval of
11   the Settlement and Settlement Agreement, including Class Counsel’s application for attorneys’
12   fees and costs, for September 24, 2014 at 9:00 am.
13            B.     Deadline for Filing Objections to Settlement, Including Plaintiffs’
                     Application for Attorneys’ Fees and Costs
14
              Any objection to the Settlement, including to Plaintiffs’ application for attorneys’ fees
15
     and costs, must be postmarked no later than August 15, 2014.
16
              C.     Deadline for the Parties to Respond to Any Objections.
17
              The parties will respond to any timely-filed objections no later than September 5, 2014.
18
19
              D.     Deadline for Submitting Motion Seeking Final Approval
20
              Plaintiffs shall file a Motion for Final Approval of the Settlement by September 5, 2014.
21
     That brief shall respond to any timely filed objections, including timely filed objections to
22
     Plaintiffs’ application for attorneys’ fees and costs.
23
              E.     Deadline for Submitting Application for Attorneys’ Fees and Costs
24
              Class Counsel shall file with this Court their application for attorneys’ fees and costs by
25
     August 1, 2014.
26
27
28

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     [PROPOSED] PRELIMINARY APPROVAL ORDER                                                         Page 2
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 1   III.   APPROVAL OF THE FORM AND MANNER OF DISTRIBUTING CLASS
            NOTICE
 2
             A.      The Parties have also submitted for this Court’s approval a proposed form Class
 3
     Notice, which the Court has carefully reviewed. The Court finds and concludes as follows:
 4
                     1.      The proposed Notice allows Class Members a full and fair opportunity
 5
                             to
 6
     consider the proposed Settlement. The proposed plan for distributing the Notice, which is
 7
     described in the parties’ Joint Motion for Preliminary Approval of Class Settlement, is a
 8
     reasonable method to inform class members of the terms of the settlement, including Plaintiffs’
 9
     forthcoming application for attorneys’ fees and costs, and of Class Members’ opportunity to
10
     comment on, or object to, these terms. Under the proposed Notice plan, Plaintiffs will
11
     distribute notice by mail and email, respectively, to the last known street and email addresses
12
     of more than 1,000 potential class members in the potential Class Member database maintained
13
     by Plaintiffs. Plaintiffs will also post the Notice on the website that they have established for
14
     this case. Finally, Plaintiffs will also send the notice, as well as a link to the notice on the
15
     website, via email to disability rights organizations in California with a request that it be
16
     printed and posted and that the organizations put a link to the notice on their website.
17
                     2.      The Notice fairly, plainly, accurately, and reasonably informs Class
18
     Members of: (1) the nature of this litigation, the class bound by the agreement, the identity of
19
     Class Counsel, and the essential terms of the Settlement, including injunctive relief; (2) Class
20
     Counsel’s forthcoming application for attorneys’ fees and costs; (3) the Court’s procedures for
21
     final approval of the Settlement Agreement; (4) class members’ right to comment or object if
22
     they desire; and (5) how to obtain additional information regarding this litigation and the
23
     Settlement.
24
                     3.      The Court FINDS and CONCLUDES that the proposed plan for
25
     distributing the Notice satisfies the notice requirements of Rule 23, and satisfies all other legal
26
     and due process requirements.
27
                     4.      Accordingly, the Court hereby ORDERS as follows:
28
                             a.      The form of the Notice is approved.
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 1                       b.    The manner of distributing the Notice is approved.
 2                       c.    Within 10 days of the entry of this Order, Plaintiffs shall
 3                             distribute the Notice as set forth above, as in the Notice attached
 4                             hereto as Exhibit B.
 5
 6
 7   IT IS SO ORDERED.
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              June 4, 2014




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 9   DATED: _______________




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                                              The Honorable     O ORD
                                                         IT IS SPhyllis J. Hamilton




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10                                            United States District Courtn
                                                                                       Hamilto
                                                                           hyllis J.




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     [PROPOSED] PRELIMINARY APPROVAL ORDER                                                                   Page 4
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                  Exhibit A
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                   Exhibit B
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       NOTICE OF PROPOSED CLASS ACTION SETTLEMENT AND HEARING

       ATTENTION: PEOPLE WHO USE WHEELCHAIRS OR SCOOTERS FOR
           MOBILITY AND WHO PATRONIZE OR HAVE PATRONIZED
                TACO BELL RESTAURANTS IN CALIFORNIA

           PLEASE READ THIS NOTICE CAREFULLY AS IT ADDRESSES A
                  LAWSUIT THAT MAY AFFECT YOUR RIGHTS

I.     INTRODUCTION

        The purpose of this notice is to inform you of a proposed settlement in a pending class
action lawsuit brought against Taco Bell Corp. (“Taco Bell”) on behalf of people who use
wheelchairs or scooters for mobility. The class action settlement, which must be approved by
the Court, was reached in the matter of Moeller v. Taco Bell Corp., Civil Action No.
4:02-cv-05849-PJH (the “Lawsuit”). The Lawsuit, originally filed in 2002 in the United States
District Court for the Northern District of California and subsequently amended, alleged that
there are architectural barriers at Taco Bell restaurants in California owned and operated by Taco
Bell, which at the time the suit was filed totaled approximately 200 restaurants, that discriminate
against a class of persons who use wheelchairs or scooters for mobility in violation of Title III of
the Americans with Disabilities Act and California state law. The Lawsuit sought to require
Taco Bell to bring these restaurants into compliance with state and federal accessibility
regulations. Taco Bell has denied and continues to deny any liability or wrongdoing.

        After the Lawsuit was filed, Taco Bell undertook a remediation program designed to
bring its restaurants into compliance with accessibility requirements. Taco Bell subsequently
sold the majority of those restaurants, and now owns and operates 41 restaurants in California
(“California Corporate Restaurants”). A list of the 41 California Corporate Restaurants is set
forth at the bottom of this Notice. The parties to the Lawsuit have now entered into a proposed
agreement to settle the Lawsuit (the “Settlement Agreement”).

        If you use a wheelchair or scooter and you have patronized, or will patronize, a
California Corporate Restaurant at any time between December 17, 2001 and the end of the term
of the proposed settlement (approximately September 2016), you are included in this case.


        A Final Approval Hearing will be held on September 24, 2014, at 9:00 am before Judge
Phyllis J. Hamilton of the United States District Court for the Northern District of California,
Oakland Courthouse, Courtroom 3 - 3rd Floor, 1301 Clay Street, Oakland, California 94612, to
determine if the Settlement Agreement is fair, reasonable and adequate and should therefore be
approved. The date of the Final Approval Hearing may change without further notice to
the class. Class Members are advised to check the settlement website
(http://www.tacobellclassaction.com/) or PACER (www.pacer.gov), as described in Section VIII
below, to confirm that the date of the Final Approval Hearing has not been changed. The Court

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will also determine whether to approve plaintiffs’ counsels’ application for attorneys’ fees and
costs, which Taco Bell has agreed to pay pursuant to the Settlement Agreement as explained
herein.

       THIS NOTICE SUMMARIZES THE PROPOSED SETTLEMENT AND
       ADVISES YOU OF:

       THE STATUS OF THE LAWSUIT; and

       THE OPPORTUNITY TO FILE WITH THE COURT AN OBJECTION TO THE
       SETTLEMENT OR TO APPEAR AT THE FINAL APPROVAL HEARING
       ADDRESSING THE APPROVAL OF THE SETTLEMENT.

II.    REASONS FOR SETTLEMENT

         This Settlement Agreement resolves all claims currently at issue in the Lawsuit. After
more than a decade of litigation and after negotiations that concluded on the eve of the second
trial in this case, Class Counsel1 have concluded that the terms and conditions of the settlement
are fair, reasonable, and in the best interests of the Class. In reaching this conclusion, Class
Counsel have analyzed the benefits of the settlement, the possible outcome of further litigation,
and the expense and length of continued proceedings necessary to prosecute this Lawsuit
through trial and possible appeals. By entering into this settlement, Taco Bell does not admit any
fault or wrongdoing. Taco Bell denies any and all liability to the Named Plaintiffs and the Class
and denies that it has violated any laws -- federal, state or local -- pertaining to access for people
who use wheelchairs or scooters. Plaintiffs and Taco Bell have agreed to a settlement to resolve
all issues in the Lawsuit, which includes injunctive relief, monetary relief to the Named
Plaintiffs, and attorneys’ fees and costs. The Court has conditionally approved this settlement
and must approve it after the Final Approval Hearing before it becomes final. The proposed
settlement is summarized below.

III.   DEFINITION OF THE CLASS

       The Class, which was certified by the Court on February 23, 2004, and modified on July
26, 2012,2 is defined as follows:


       1
              Timothy Fox, Esq. and Amy Robertson, Esq., previously of the law firm of Fox &
Robertson, P.C. and currently of the Civil Rights Education and Enforcement Center; Mari
Mayeda, Esq.; and Antonio M. Lawson, Esq. of the Lawson Law Offices.
       2
              On July 26, 2012, the Court decertified the damages portion of this class action,
but maintained the certification of the injunctive class. Moeller v. Taco Bell Corp., No. C
02–5849 PJH, 2012 WL 3070863, at *4 (N.D. Cal. July 26, 2012). As a result of this decision,
class members are not able to recover damages through this class action.

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       All individuals with disabilities who use wheelchairs or electric scooters for
       mobility who, at any time on or after December 17, 2001, were denied, or are
       currently being denied, on the basis of disability, full and equal enjoyment of the
       goods, services, facilities, privileges, advantages, or accommodations of
       California Taco Bell corporate restaurants.

       The Court has appointed plaintiffs Francie E. Moeller, Edward Muegge, Katherine
Corbett, and Craig Thomas Yates as representatives of this class.

       Members of the Class cannot “opt out” of the class or the effect of the Class releases
described in Section V below. Members of the Class may object to the Settlement Agreement as
described in Section VIII below.

IV.    SUMMARY OF PROPOSED SETTLEMENT

      The following is a summary of certain provisions of the Settlement Agreement. The
complete Settlement Agreement is available as set forth below.

       A.      INJUNCTIVE RELIEF

       The injunctive relief set forth in the Settlement Agreement includes the following:

       •       Taco Bell will instruct its restaurant managers to conduct inspections, on at least a
               daily basis, of specified architectural elements that are subject to frequent change
               to ensure that they are in compliance with accessibility regulations;

       •       Once every six months, Taco Bell will have a Compliance Monitor inspect each
               currently owned or subsequently acquired California restaurant for compliance
               with accessibility regulations, and shall take prompt corrective action with respect
               to any deviations from those regulations;

       •       A Construction Monitor will inspect any newly constructed California restaurant,
               and any major alterations or major remodels to California restaurants, for
               compliance with accessibility regulations;

       •       If Taco Bell acquires additional restaurants in California that it intends to remain
               open after such acquisition, it will bring those restaurants into compliance with
               accessibility regulations within 120 days of the acquisition.

        The Settlement Agreement also establishes a Dispute Resolution process that, for two (2)
years following final approval of the settlement, shall govern the filing any claim in federal or
state court to enforce any provision of the Settlement Agreement or to obtain injunctive relief
alleging the existence of a barrier to access at a California Corporate Restaurant.

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       B.      NAMED PLAINTIFFS’ DAMAGES, ATTORNEYS’ FEES AND COSTS

        Taco Bell has agreed to pay monetary relief totaling $5,375,000. Named Plaintiffs and
class counsel have agreed that each named plaintiff will receive $50,000 as compensation for
their damages claims (the named plaintiffs have not sought, and are not receiving, enhancement
awards). Class counsel will submit a motion seeking approval by the Court of an award of
attorneys’ fees and costs in the amount of $5,175,000.

V.     BINDING EFFECT/RELEASES

     The proposed Settlement Agreement, if finally approved by the Court, will bind all
members of the Class.

       As a result, each class member’s claim for injunctive relief against Taco Bell concerning
the California Corporate Restaurants based on conduct preceding final approval of the
Settlement Agreement will be released. This release applies to claims brought under:

       (A)    Title III of the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq., and all
              rules and regulations promulgated thereunder; and

       (B)    Cal. Civil Code Sections 52, et seq., and the Disabled Persons Act, and Unruh Act
              contained therein, and Cal. Code Regs., Title 24 and all rules and regulations
              promulgated thereunder, and any other provision of California law to the extent it
              grants a right of action for alleged violations of the foregoing.

        The Settlement Agreement, if approved, will not release claims for damages other than
by the Named Plaintiffs (on behalf of themselves only and not the Class). Thus, you do not have
to object in order to be able to assert claims for damages in your own lawsuit, although you may
not recover damages through this class action. No Class member can “opt out” of the Settlement
Agreement, but members of the Class may object to the Settlement Agreement as described in
Section VII below.

VI.    HEARING ON PROPOSED SETTLEMENT

        The Court has scheduled a Final Approval Hearing for September 24, 2014 at 9:00 am in
the Courtroom of the Honorable Phyllis J. Hamilton of the United States District Court for the
Northern District of California, Oakland Courthouse, Courtroom 3 - 3rd Floor, 1301 Clay Street,
Oakland, California 94612, to determine whether the proposed settlement is fair, reasonable and
adequate and should be finally approved, to determine whether to approve Class counsels’
application for attorneys’ fees and costs, and to address any other matters related to the
settlement of the Lawsuit. The date of the Final Approval Hearing may change without
further notice to the class. Class Members are advised to check the settlement website
(http://www.tacobellclassaction.com/) or PACER (www.pacer.gov), as explained in Section VIII

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below, to confirm that the date of the Final Approval Hearing has not been changed.

        It is not necessary for you to appear at the hearing. You may, however, choose to appear
at the hearing, either in person or through an attorney.

       Requests to be heard at the Final Approval Hearing filed by attorneys should be filed
pursuant to the Electronic Case Filing Procedures for the Northern District of California, which
are available online at http://www.cand.uscourts.gov/cm-ecf.

VII.   OBJECTIONS TO THE SETTLEMENT AGREEMENT

        You can ask the Court to deny approval by filing an objection. You can’t ask the Court to
order a larger settlement; the Court can only approve or deny the settlement.

        You may object to the proposed settlement in writing. You may also appear at the Final
Approval Hearing, either in person or through your own attorney. If you appear through your
own attorney, you are responsible for paying that attorney. Only Class members who have filed
written objections shall have the right to present objections orally at the Final Approval Hearing,
and they will only have the right to do so if they expressly seek it in their written objection.

       All written objections and supporting papers must (a) clearly identify the case name and
number (Moeller v. Taco Bell Corp., Civil Action No. 4:02-cv-05849-PJH), (b) be submitted to
the Court either by mailing them to Class Action Clerk, United States District Court for the
Northern District of California, Oakland Courthouse, 1301 Clay Street, Suite 400 S, Oakland,
CA 94612, or by filing them in person at any location of the United States District Court for the
Northern District of California, and (c) be filed or received on or before August 15, 2014.

        Unless otherwise ordered by the Court, any Class members who do not make his or her
objections or opposition to the settlement in the manner described above shall be deemed to have
waived all objections and opposition to the fairness, reasonableness and adequacy of the
settlement and any other matters pertaining to the Lawsuit.

VIII. ADDITIONAL INFORMATION

        This notice summarizes the proposed settlement. For the precise terms and conditions of
the settlement, please see the settlement agreement available at
http://www.tacobellclassaction.com and http://www.creeclaw.org, by contacting Class Counsel
at 1-888-461-9191, by accessing the Court docket in this case through the Court’s Public Access
to Court Electronic Records (PACER) system at https://ecf.cand.uscourts.gov, or by visiting the
office of the Clerk of the Court for the United States District Court for the Northern District of
California, Oakland Courthouse, 1301 Clay Street, Suite 400 S, Oakland, California 94612,
between 9:00 a.m. and 4:00 p.m., Monday through Friday, excluding Court holidays.

       PLEASE DO NOT TELEPHONE THE COURT OR THE COURT CLERK’S

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                OFFICE TO INQUIRE ABOUT THIS SETTLEMENT.


                           California Corporate Restaurants

  Restaurant                        Address                             City
   Number
17435             2676 Mt Vernon Avenue                   Bakersfield
4168              6119 Niles Street                       Bakersfield
4356              7880 White Lane                         Bakersfield
4510              "2300 ""H"" St"                         Bakersfield
4578              3315 Union Ave                          Bakersfield
3207              3799 Rosedale Highway                   Bakersfield
27634             139 South Oswell St.                    Bakersfield
15362             1877 White Lane                         Bakersfield
15455             3200 California Avenue                  Bakersfield
4054              4675 Ming Ave                           Bakersfield
15573             551 Weedpatch Hwy                       Bakersfield
22460             9640 Hageman Rd.                        Bakersfield
26836             3707 Coffee Rd.                         Bakersfield
20190             3300 Panama Lane                        Bakersfield
24402             3300 Buena Vista Rd - Bldg I            Bakersfield
20578             15 South H Street                       Bakersfield
21226             2433 N. Chester Avenue                  Bakersfield
17751             5121 Olive Drive                        Bakersfield
16276             303 West Imperial Highway               Brea
4342              4200 Chino Hills Pkwy                   Chino Hills
2700              131 E Orangethorpe Ave                  Fullerton
9489              3000 E. Yorba Linda Blvd                Fullerton


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3420              3317 W. Florida                    Hemet
27505             4101 Campus Dr.                    Irvine
3904              2222 Barranca                      Irvine
5636              15006 S La Mirada                  La Mirada
3196              23651 Rockfield                    Lake Forest
19532             30115 Antelope Road                Menifee
2984              27770 Snta Margarita Pkwy          Mission Viejo
5081              39557 Los Alamos Rd.               Murrieta
22691             39056 Winchester Rd.               Murrieta
26788             24660 Madison Avenue               Murrieta
4704              4101 Jamboree Rd                   Newport Beach
3222              2246 S Grand Tb-ph 2n1             Santa Ana
20310             2500 N. Main                       Santa Ana
19744             10551 Carmenita Rd                 Santa Fe Springs
17984             31677 Hwy. 79 South                Temecula
19515             41005 Winchester Rd.               Temecula
17471             14042 Red Hill                     Tustin
9414              3010 El Camino Real Tustin Mktpl   Tustin
3555              22300 Old Canal Road               Yorba Linda




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